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                          IN THE UNITED STATES DISTRICT COURT                            11/6/2017

                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                    CHARLOTTESVILLE DIVISION


  ELIZABETH SINES, ET AL.,                            CASE NO. 3:17-CV-00072
                                 Plaintiffs,
  v.                                                  ORDER
  JASON KESSLER, ET AL.,
                                                      JUDGE NORMAN K. MOON
                                 Defendants.



        This matter is before the Court on Plaintiffs’ motions for pro hac vice admission of Alan

 Levine, (dkt. 68), David E. Mills, (dkt. 69), Julie E. Fink, (dkt. 70), Christopher B. Greene, (dkt.

 71), and Seguin L. Strohmeier, (dkt. 72). Each attorney is licensed to practice law and is a bar

 member in good standing with their respective bar, and is thus qualified to appear for and on

 behalf of the Plaintiffs in this Action. Accordingly, Plaintiffs’ motions are GRANTED.

        It is hereby ORDERED that attorneys Alan Levine, David E. Mills, Julie E. Fink,

 Christopher B. Greene, and Seguin L. Strohmeier shall be permitted to appear pro hac vice for

 and on behalf of Plaintiffs in the above styled and numbered Civil Action, and able to appear at

 hearings or trials in the absence of an associated member of the bar of this Court. The Clerk of

 the Court is hereby directed to send a certified copy of this Order to Plaintiff, Defendants, and all

 counsel of record.

                      6th day of November, 2017.
        Entered this _____
